262 F.2d 588
    59-1 USTC  P 9173
    GREEN LAWN MEMORIAL PARK, Inc., Appellant,v.Joseph T. McDONALD, Collector of Internal Revenue.GREEN LAWN MEMORIAL PARK, Inc., Appellant,v.UNITED STATES of America.
    Nos. 12698, 12699.
    United States Court of Appeals Third Circuit.
    Argued Dec. 18, 1958.Decided Jan. 9, 1959, Rehearing Denied Feb. 9, 1959.
    
      Henry D. O'Connor, Philadelphia, Pa., for appellant.
      John J. Pajak, Washington, d.C., (Charles K. Rice, Asst. Atty. Gen., Lee A. Jackson, Melva M. Graney, Attorneys, Department of Justice, Washington, D.C., Daniel H. Jenkins, U.S Atty., Scranton, Pa. on the brief), for appellees.
      Before BIGGS, Chief Judge, and McLAUGHLIN and HASTIE, Circuit Judges.
      PER CURIAM.
    
    
      1
      The appeals at bar are from judgments against the taxpayer in two suits brought by it for refund of income taxes for the same fiscal year and may be disposed of appropriately by one opinion.  Consideration of the records and the principles of law involved convinces us that there is no error in the result reached by the court below.  The careful opinion of Chief Judge Murphy has dealt adequately with all pertinent issues.  Consequently the judgments will be affirmed on his opinion.  164 F.Supp. 438.
    
    